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                                CERTIFICATE OF SERVICE

       I, Heidi E. Sasso, certify that I am not less than 18 years of age, and that service of the
foregoing document was made via US Mail on April 30, 2014 on:

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        Under penalty of perjury, I declare that the forgoing is true and correct.

April 30, 2014                                /s/ Heidi E. Sasso
                                              Heidi E. Sasso




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